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                       SUMMARY OF PENSION REFORM
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                     TERMS FOR MODIFICATION OF PREPA ERS OBLIGATIONS

       To avoid creating future pension liabilities and to stabilize the system for the benefit of future
       retirees and ratepayers, the PREPA ERS plan benefit accrual shall be frozen upon the Effective
       Date of the Plan of Adjustment (the “POA Effective Date”).

       Following is a summary of the terms of the Plan’s freeze of further defined benefits of under the
       PREPA ERS.

       The modifications listed herein modify the obligations of PREPA and any other government
       employer whose employees continue to participate in the PREPA ERS defined benefit plan to fund
       the benefits provided by PREPA ERS as established in regulations by the Governing Board of the
       Puerto Rico Electric Power Authority on July 1, 1945 and all subsequent amendments through the
       POA Effective Date, and are to be adhered to in the administration of PREPA ERS benefits by
       PREPA ERS. Administrative procedures not addressed below (such as rounding procedures in
       determining ages and service of participants) should be consistent with past practices.

       PREPA employees participate under a defined benefit (DB) formula that is either supplemental to,
       or coordinated with, Social Security. This applies to all active participants of PREPA ERS
       (“Member” or “Members”), regardless of title or job classification or employer. Members will
       retain the benefits they have accrued up to and including the POA Effective Date; provided,
       however, that any future cost of living adjustments shall be eliminated pursuant to the POA, as
       any right to such future adjustments is not an accrued benefit and will not be an accrued benefit as
       of the POA Effective Date. Benefits accrued from and after the POA Effective Date shall be based
       on contributions and earnings in new segregated defined contribution retirement accounts under
       Act 106-2017 funded by employee contributions. As a result, employees will have the certainty
       that their contributions and investments will be safeguarded for the future, ensuring retirement
       security.


Definitions

Covered                These terms pertain to the freeze of DB accruals of all active participants in PREPA ERS
Participants           (including Mobilized Employees as described below)

Retirement             Retirement Eligibility Age is the age at which a member may commence receipt of a monthly
eligibility age        pension benefit.

Retirement benefit     The Retirement Benefit is the amount of benefit payable to a member each month.

Creditable service     Total of member and previous services that is credited for a pension.

Mobilized              Former PREPA employees who have transferred or current PREPA employees who will transfer
Employees              to Commonwealth instrumentalities in connection with a Public Private Partnership (“P3”)
                       transaction. Mobilized Employees shall only receive Creditable Service for periods of
                       employment with the Commonwealth to the extent that such service is provided under applicable
                       law, and then only through the POA Effective Date.
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Average                 The average of the 3 highest annual base salaries, limited to $50,000 for members hired after
compensation            1/1/1993.



Timing

Freeze Date             PREPA ERS pension benefit accrual freeze becomes effective upon the POA Effective Date


Provisions of the proposal

Treatment of            Participants retain a vested right to receive the accumulated employee contributions in accordance
accumulated             with the PREPA ERS plan document in lieu of the retirement, death, disability or termination
employee                benefits applicable under PREPA ERS.
contributions

Retirement              Prior to the Freeze Date, participants will retain the following eligibility for retirement under
Eligibility prior to    PREPA ERS:
the Freeze Date             • Participants hired before January 1, 1993: Age 60 or attainment of 20 years of service
                            • Participants hired on or after January 1, 1993: Age 60 with 5 years of service, age 65, 20
                                years of service, or attainment of age 50 with 30 years of service

Retirement              Beginning on the Freeze Date, participants will become eligible for retirement under PREPA ERS
Eligibility after the   upon reaching the following age / service combinations:
Freeze Date                • Participants hired before January 1, 1993:
                                   o Participants who have attained either Age 60 or 20 years of Creditable service as
                                        of the Freeze Date will be eligible to retire at any time.
                                   o Participants not having attained either age 60 or 20 years of Creditable service at
                                        the Freeze Date will be eligible to retire based on age at the Freeze Date based
                                        on the following table:

                                                 Attained Age         at        Retirement      Eligibility    Age    after
                                          Freeze Date                     Freeze Date
                                                 57 and up                      61
                                                 56                             62
                                                 55 and under                   63

                             •   Participants hired on or after January 1, 1993:
                                     o Participants who have attained age 60 with 5 years of Creditable service, age 65,
                                         or 20 years of Creditable service at the Freeze Date will be eligible to retire at
                                         any time
                                     o All other participants will be eligible to retire once having either a) attained age
                                         65 or b) the date the participant would have attained both i) 5 years of service
                                         assuming the freeze had not happened, and ii) the age based on the following
                                         table:

                                                 Attained     Age     at        Retirement      Eligibility    Age    after
                                          Freeze Date                     Freeze Date
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                                                 57 and up                        61
                                                 56                               62
                                                 55 and under                     63



Elimination of          The $180 monthly minimum benefit for participants will be eliminated for participants retiring
minimum benefit         on or after the Freeze Date.

Elimination of use of   For separations of service or retirements occurring on or after the Freeze Date, Creditable service
sick leave to           will be determined as of the Freeze Date and will not increase in the future. Prior to the Freeze
purchase credit         Date, sick leave could be converted at retirement to service towards a merit annuity at a rate of 1
towards a merit         month for 15 days of accumulated sick leave time. After the Freeze Date, accumulated sick leave
pension                 time will not be credited towards the pension benefit nor will any ability to purchase service be
                        implemented. Applications to retire submitted prior to the plan confirmation date requesting
                        application of sick time to purchase service will be honored.

Bonus payments          Summer and Christmas bonuses will be eliminated for retirements after the Freeze Date. One-
                        time funeral bonus will be retained.

                        Bonus payments will not be impacted for retirements occurring prior to the Freeze Date.

Employee                Employee contributions to PREPA ERS plan will cease as of the Freeze Date.
Contributions

Implementation of       Mobilized employees will participate in the Commonwealth Defined Contribution (DC) accounts
Defined                 described under Act 106-2017 (Act 106). New DC accounts under a DC plan with the same
Contribution            provisions as Act 106 will be established for current PREPA employees.
Accounts

Elimination of Cost     The COLAs that have been historically granted every three years will not be continued past the
of Living               Freeze Date. Future COLAs will be eliminated. Previously granted COLAs will continue to be
Adjustments             honored.
(COLAs)
                        Benefits that have been previously increased by historic COLAs will not be reduced and COLAs
                        prior to the Freeze Date will be honored.

Death benefits          Terminations due to death will receive a refund of accumulated employee contributions.


Post Retirement         For retirements occurring on or after the Freeze Date, the benefit will be payable as a lifetime
Death Benefits          annuity. If the participant elects at retirement to receive an annuity with a 30% survivorship
                        benefit at the annuitant’s death, the amount paid during the employee’s lifetime will be the
                        actuarial equivalent of the life annuity. The plan actuarial equivalence (i.e. mortality and interest
                        rate) will be determined consistent with the determination of other optional forms of payment
                        under the plan.

Disability benefits     Effective on the Freeze Date, participants who become disabled will be eligible to either:
                            a. Receive a retirement benefit if the retirement eligibility criterion are otherwise met,
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                            b. Receive a deferred pension if over 10 years of service has been accrued (payable
                               identically to the benefits owed a vested terminated member), or
                            c. Receive a refund of accumulated employee contributions

Specific implications   Retirement benefits will continue unchanged from those currently provided by PREPA ERS
on Retirement           until the Freeze Date. Provisions for retirements occurring after the Freeze Date are as follows:
Benefit
                            a. Minimum benefits will no longer apply to future retirees.

                            b. The freeze eliminates the ability to purchase additional service using unused sick or
                               vacation time or by other means. Applications to retire submitted prior to the POA
                               Effective Date requesting application of sick or vacation time to purchase service will be
                               honored.

                            c. Participants who were hired prior to January 1, 1993 who attained 25 years of Creditable
                               Service as of the Freeze Date receive a life annuity equal to 2.5% of Average
                               Compensation determined as of the Freeze Date times years of service at the Freeze Date
                               (up to 30 years). If benefits are coordinated with Social Security, the benefit will be
                               adjusted from ages 65 to 80 by reducing the benefit by $40 per each year of Creditable
                               Service at the Freeze Date (up to 30 years).

                            d. Participants hired prior to January 1, 1993 who had not attained 25 years of Creditable
                               Service as of the Freeze Date will receive a benefit of 1.5% of Average Compensation
                               determined as of the Freeze Date per year of Creditable Service as of the Freeze Date plus
                               an additional 0.5% of Average Compensation determined as of the Freeze Date per year
                               of Creditable Service as of the Freeze Date beyond 20 years. If the commencement date
                               of the member’s benefit is prior to age 60, the benefit shall be the actuarial equivalent to
                               the age 60 benefit.

                            e. Participants hired on or after January 1, 1993 who attained 30 years of service as of the
                               Freeze Date will receive a benefit equal to 75% of the Average Compensation determined
                               as of the Freeze Date. The 75% factor will be further reduced for retirements prior to age
                               55 are as follows:

                                  Age at retirement                             Benefit Multiplier
                                  50                                            62.5%
                                  51                                            65.0%
                                  52                                            67.5%
                                  53                                            70.0%
                                  54                                            72.5%

                            f.   Participants hired on or after January 1, 1993 who had not attained 30 years of Creditable
                                 Service as of the Freeze Date will receive a benefit of 1.5% of Average Compensation
                                 determined as of the Freeze Date per year of Creditable Service as of the Freeze Date plus
                                 an additional 0.5% of Average Compensation determined as of the Freeze Date per year
                                 of Creditable Service as of the Freeze Date beyond 20 years. If the commencement date
                                 of the member’s benefit is prior to age 60, the benefit shall be the actuarial equivalent to
                                 the age 60 benefit.
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Funding Structure     Pensions will continue to be paid from the current pension trust (i.e. PREPA ERS). The funding
                      structure of PREPA ERS will shift from a funded model to pay-as-you-go (PayGo). PREPA ERS
                      will be reimbursed for PayGo payments to the extent provided in the Plan with funds sufficient
                      to do so that PREPA will contribute to a new trust to be established pursuant to the PREPA plan
                      of adjustment (the “PREPA PayGo Trust”). The assets of the PREPA PayGo Trust will be held
                      in trust for the sole benefit of PREPA ERS.

                      Assets in the PREPA Paygo Trust, including investment returns, will be used to reimburse the
                      PREPA ERS for the annual PayGo and appropriate administrative expenses, to the extent PREPA
                      ERS is entitled to such reimbursement under the POA. Any withdrawals from the PREPA Paygo
                      Trust will require approval of the PREPA PayGo Trust Board of Trustees and shall only be used
                      by PREPA ERS to fund the payment of PayGo made consistently with the DB plan as modified
                      by the POA.


Negotiated benefits in addition to PREPA-ERS benefits


Negotiated Benefit    Benefits will be paid to participants if their termination from active service at PREPA results
Description           from any of the following:
                          • Physical or mental disability
                          • Retirement or termination upon meeting age or service requirements of PREPA ERS
                          • Death of an active member

                      Benefits are only payable in a single instance and a participant who returns to work is not
                      eligible to receive any additional benefit from these provisions

Negotiated Benefit        •   Retirement, disability or general passing: $7,000
Amount                    •   Death related to employment duties: $20,000
                          •   Death related to employment duties specific to a Power Line Technician or in job
                              positions specifically identified as eligible for special annual risk compensation:
                              $50,000
                          •   Physical disability resulting from employment duties: $8,000

Impact of Freeze on   One-time benefits described under this formula are not impacted by the pension freeze
Negotiated Benefit
Amounts
